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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

  Gilberto Rodriguez, on behalf of         )
  himself, and all other similarly         )
  situated plaintiffs known and            )
  unknown,                                 )   Case No. 17-cv-965
                                           )
                 Plaintiff                 )
                                           )   Judge John Robert Blakey
                     v.                    )
                                           )
  Hanson Landscape & Design                )
  a/k/a Hanson Landscape Design            )
  & Installation Inc. and Dustin           )
  Hanson, individually,                    )
                                           )
                Defendants

                      PRELIMINARY APPROVAL ORDER

      This cause comes before the Court upon Plaintiffs’ Joint Motion for entry of

an Order preliminarily approving the Class Action Settlement Agreement between

Plaintiffs and Defendant in the above-captioned case.

      The Court has reviewed the Settlement Agreement and the exhibits attached

thereto and preliminarily finds that the proposed settlement is within the range of a

fair, reasonable and adequate resolution of the issues in this proceeding, the

proposed Settlement Classes satisfy the criteria set out in Rule 23(a) and (b)(3), and

the proposed form and manner of class notice are appropriate and satisfy due

process, and therefore,

      IT IS ORDERED that:

      1.     The following class is conditionally certified for settlement purposes

only, pursuant to Federal Rule of Civil Procedure 23(b)(3):

                                          1
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             All Hanson Landscape & Design A/K/A Hanson
             Landscape Design & Installation Inc. employees
             employed on or after February 6, 2007 who experienced a
             deduction from their pay for uniforms..

       2.    Attorney John Billhorn is designated as lead Class Counsel and is

assisted by Neil Kelley of the Farmworker and Landscaper Advocacy Project.

Gilberto Rodriguez is designated class representative for the above-stated class.

       3.    The form of class notice attached to the parties’ Settlement Agreement

as Exhibit A and the plan for its dissemination specified in the Settlement

Agreement are approved, and the notices will be mailed to Class Members no later

than 30 days after entry of this Order.

       4.    Pending the outcome of a final fairness hearing, all members of the

Settlement Class are preliminarily enjoined from commencing, prosecuting, or

maintaining any claim already asserted in, and encompassed by, this Action.

       5.    A final fairness hearing will be held on November 29, 2018 at 9:45 a.m.

in Courtroom 1203 of the Dirksen Federal Building, 219 S. Dearborn St., Chicago,

Illinois.

Dated: May 22, 2018
                                              Entered:


                                              ____________________________
                                              John Robert Blakey
                                              United States District Judge




                                          2
